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                   Exhibit R
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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT
____________________________________
BLACK WIDOW TERMITE & PEST           )
CONTROL CORP.,                       )
                                     ) CIVIL ACTION NO. 3:23-cv-01246
      Plaintiff,                     )
                                     )
v.                                   )
                                     )
BLACK WIDOW PEST SPECIALIST          )
LLC,                                 )
                                     )
      Defendant.                     )
                                     ) DECEMBER 18, 2023


        DEFENDANT’S INITIAL DISCLOSURES PURSUANT TO RULE 26(a)(1)

       Defendant Black Widow Pest Specialists LLC (“Defendant”), by and through undersigned

counsel, hereby makes the following initial disclosures pursuant to Rule 26(a)(1) of the Federal

Rules of Civil Procedure.

       These disclosures are based upon Defendant’s present knowledge and to the best of

Defendant’s present abilities. These disclosures are made without any statement, admission, or

implication of relevance, discoverability, or admissibility. These disclosures are made without and

do not constitute any waiver of attorney-client privilege or work product immunity.

       Defendant’s investigation and discovery concerning this case is continuing and, if

additional information is obtained after the date of these disclosures and deemed pertinent,

Defendant will supplement these disclosures, as appropriate, in accordance with Rule 26(e) of the

Federal Rules of Civil Procedure.

I.     Individuals Likely to Have Discoverable Information
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       The names and, if known and available for communication, preferred contact addresses

and phone numbers of individuals likely to have discoverable information that Defendant may use

to support its claims and/or defenses, and the subjects of their information, are set forth below.

       All communication with Defendant owners and/or employees must be directed to and made

through their counsel, Armory Legal Group PLLC.

       1. Blake Black.

               a. Address:

                       i. 108 Curtiss St., Naugatuck, CT 06770.

               b. Subject Matter:

                       i. Information concerning the allegations of the complaint, affirmative

                           defenses, counterclaims (collectively, the “Claims and Defenses”),

                           including, but not limited to, Defendant’s historic and current

                           operations, sales, sales calls, sales leads, branding, marketing,

                           communications with customers, communications with industry

                           experts, contacts with potential customers.

       2. Merina Sabatucci.

               a. Address:

                       i. 108 Curtiss St., Naugatuck, CT 06770.

               b. Subject Matter:

                       i. Information concerning Defendant’s sales, sales calls, communications

                           with customers, contacts with potential customers.




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       Defendant reserves the right to identify additional individuals likely to have discoverable

information or to remove identified individuals after disclosure as information is discovered and

the matter progresses, as deemed relevant and appropriate.

II.    Description by Category and Location of Relevant Documents, ESI and Tangible

       Things

       The documents, ESI, and tangible things (collectively, “Discoverable Information) which

are in Defendant’s possession or control and which are believed to be relevant to Defendant’s

defenses and counterclaims consist of:

       1. Client invoices and sales information;

       2. Call logs;

       3. Electronic records of written communications;

       4. Advertising and marketing collateral materials;

       5. Stationary and mail materials; and

       6. Referral information.

       The Discoverable Information will be produced and made available for inspection at

Defendant’s location, with arrangements being made available for copying, or at other mutually

agreed upon location(s), pursuant to agreement of counsel of the parties and per procedures set

forth and agreed upon by the parties. Information may be made available to plaintiff in response

to discovery requests. Some documents, and production of said documents, may be contingent

upon and subject to entry of a Protective Order and may otherwise be deemed privileged or for

attorney and judicial review only.




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        Additional Discoverable Information may be identified during the course of discovery and

will be made available pursuant to discovery requests. Defendant reserves the right to disclose

additional relevant information as it is discovered.

III.    Computation of Damages

        Defendant has not yet prepared a computation of damages. Generally, in addition to the

declaratory relief sought in the counterclaims, Defendant intends to seek actual damages including

its lost profits, unjust enrichment of Plaintiff, corrective advertising costs, and goodwill loss.

Defendant also seeks punitive damages and attorney’s fees including, but not limited to, Plaintiff’s

common-law trademark infringement, tortious interference with Defendant’s business, and

violation of the Connecticut Unfair Trade Practices Act.

        Calculations of Defendant’s damages will be dependent on information obtained during

discovery and on expert analysis and reports. Pursuant to the 26(f) Report, Defendant’s damages

analysis will not be due until June 31, 2024.

IV.     Insurance Agreements

        Defendant is not aware of any relevant insurance policy at this time, though Defendant

intends to explore additional information as to relevance and potential liability coverage of existing

business insurance policies. Defendant will produce any relevant agreements upon discovery and

assessment of pertinence to disclosure guidelines.



        Defendant reaffirms requirement to contact individuals deemed likely to have relevant

information through counsel. Defendant further reaffirms and reserves Defendant’s right to

supplement these disclosures, as appropriate, in accordance with Rule 26(e) of the Federal Rules

of Civil Procedure.




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                                   Respectfully submitted,
                                   DEFENDANT
                                   BLACK WIDOW PEST SPECIALIST LLC
Dated: December 18, 2023

                             By:    /s/ Hubert W. Pfabe
                                   Hubert W. Pfabe, Esq. (ct30592)
                                   ARMORY LEGAL GROUP PLLC
                                   2025 Main St., #93
                                   Cavendish, VT 05142
                                   Tel: (860) 698-0070
                                   hpfabe@armorylegalgroup.com
                                   Attorney for Defendant,
                                   Black Widow Pest Specialist LLC




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of December, 2023, a copy of the foregoing

DEFENDANT’S INITIAL DISCLOSURES PURSUANT TO RULE 26(a)(1) was served

electronically on the following:



Jonathan A. Winter, Esq.

St. Onge Steward Johnstone & Reens LLC

986 Bedford Street

Stamford, CT 06905-5619

jwinter@ssjr.com


                                                         /s/ Hubert W. Pfabe
                                                        Hubert W. Pfabe, Esq.
                                                        Armory Legal Group PLLC




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